                      IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF TENNESSEE, NORTHERN DIVISION


     ROBERT E. PERDUE                                     )
                                                          )
            Plaintiff                                     )
                                                          )
     vs.                                                  )       Civil Action No.: 3:07-CV-105
                                                          )
     COY L. BEST and RALPH M. JEFFRIES                    )
                                                          )
            Defendants                                    )


       __________________________________________________________________________

                                AMENDED COMPLAINT
       __________________________________________________________________________



            Comes the Plaintiff, by and through counsel, and for cause of action against the

     Defendants, Coy L. Best and Ralph M. Jeffries, would respectfully show as follows:

            1.      That the Plaintiff is a citizen and resident of Thomasville, Alabama residing at

     820 Smith Street, Thomasville, Alabama 36284.

            2.      That the Defendant, Coy L. Best, is a citizen and resident of Friendsville,

     Tennessee, residing at 445 South Farnum St., Friendsville, Tennessee, 37737.

            3.      That the Defendant, Ralph M. Jeffries, is a citizen and resident of Friendsville,

     Tennessee, residing at 445 South Farnum St., Friendsville, Tennessee, 37737.

            4.      The amount in controversy exceeds $75,000.00 and this Court has jurisdiction by

     virtue of the amount in controversy and the diversity of citizenship between the parties pursuant

     to 28 U.S.C. §1332.




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            5.      That on or about the 27th day of March, 2006, the Plaintiff was in his 1998 Mazda

     pickup truck traveling west on Highway 321 West. At the same time and place, the Defendant,

     Coy L. Best, was exiting a private driveway on Highway 321 West in a 2006 Chevy Silverado

     pickup truck. As the Plaintiff was traveling west on Highway 321 West, the Defendant failed to

     yield the right of way by exiting in front of the Plaintiff, thereby causing a collision. Plaintiff

     avers that the Defendant was negligently and carelessly operating his vehicle by failing to yield

     the right of way.

            6.      The Plaintiff avers that this collision was the direct and proximate result of the

     negligence of the Defendant, Coy L. Best, in failing to keep a proper lookout, failing to yield the

     right of way, failing to exercise due care, and reckless driving.

            7.      The Plaintiff avers that the Defendant, Coy L. Best, was guilty of negligence per

     se in that he violated the following statutes:

                    a) Tennessee Code Annotated §55-8-131, vehicle entering highway from private

                    drive,

                    b) Tennessee Code Annotated §55-10-205, reckless driving, and

                    c) Tennessee Code Annotated §55-8-136(b), drivers to exercise due care.

            8.      During all material times herein, the Defendant, Coy L. Best, was operating the

     vehicle in question under such facts and circumstances as to make Defendant, Ralph M. Jeffries,

     who is the lessor of said vehicle, vicariously liable for his negligence.

            9.      As a direct and proximate result of Defendant’s negligence, Plaintiff has sustained

     serious injuries including a fracture of his cervical spine, a shattered knee and nerve damage to

     his hand and arm. The Plaintiff has incurred medical expenses for the treatment of his injuries

     including hospitalizations and surgery and can reasonably expect to incur medical expenses in




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     the future. Plaintiff has suffered physical and mental pain, and such pain and suffering can

     reasonably be expected to continue in the future. Plaintiff avers that he lost wages and earning

     capacity due to his injuries and has been prevented from returning to his prior employment, and

     has been forced into an early retirement. Further, Plaintiff’s enjoyment of life has been

     diminished as a result of the negligence of the Defendant.

               WHEREFORE, Plaintiff prays for compensatory damages in the amount of One Million

     Dollars ($1,000,000.00) for the costs of this cause and that a jury be impaneled to try the issues

     joined.

                                                            DUNGAN & MEARES
                                                            MEARES, ANDREWS & BURGIN

                                                       BY: s/Michael H. Meares_________________________
                                                           MICHAEL H. MEARES, BPR #012185
                                                           Attorneys for Plaintiff
                                                           307 College Street
                                                           Maryville, Tennessee 37804
                                                           (865) 977-0632


                                                CERTIFICATE OF SERVICE

               I hereby certify that on June 6, 2007, a copy of the foregoing AMENDED COMPLAINT was filed
     electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
     indicated on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may access
     this filing through the Court’s electronic filing system.


                                                            DUNGAN & MEARES

                                                      BY: s/Michael H. Meares_________________________
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